     Case 2:21-cv-05754-RGK-JC Document 15 Filed 11/05/21 Page 1 of 1 Page ID #:51



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 8                                 UNITED STATES DISTRICT COURT
 9                               CENTRAL DISTRICT OF CALIFORNIA
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     Jaime Gallo et al,                                  Case No. 2:21-cv-05754-RGK-JC
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                            Plaintiff(s),
12                                                       ORDER DISMISSING ACTION FOR
     vs.                                                 LACK OF PROSECUTION
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     Fidelity Capital Holdings, Inc. et al,
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                            Defendant(s).
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17          On October 28, 2021, the Court issued an Order to Show Cause re Dismissal for Lack of
18   Prosecution (“OSC”), which ordered plaintiff to file timely proof of service of the summons and
19   complaint on all defendants. On November 4, 2021, plaintiff filed a declaration in response to
20   the OSC. The Court finds no good cause for the delay in service and orders the case dismissed
21   for lack of prosecution.
22          IT IS SO ORDERED.
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     Dated: November 5, 2021
24                                                       R. GARY KLAUSNER
                                                         UNITED STATES DISTRICT JUDGE
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